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AO 91 (Rev. 08/09) Criminal Complaint

mr

UNITED STATES DISTRICT COURT

for the
Southern District of Ohio

 

 

United States of America
Vv.

TAMAYA DENNARD

)

Case No. Ber ak . : ac ae
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)

)

 

Defendant(s)
CRIMINAL COMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

 

 

On or about the date(s) of SEE AFFIDAVIT in the county of Hamilton in the
Southern District of Ohio , the defendant(s) violated:
Code Section Offense Description
18 U.S.C. 1346 and 1343 Honest Services Wire Fraud,
18 U.S.C. 666 Bribery Concerning Programs Receiving Federal Funds, and
18 U.S.C. 1951 Attempted Extortion Under Color of Right

This criminal complaint is based on these facts:

See Affidavit

@ Continued on the attached sheet.
" Complainant's signature -

Nathan Holbrook, Special Agent, FBI
Printed name and title

Sworn to before me and signed in my presence.

Date: z/2u/20 Bed Aipliteoite

Judge's signature

_ Cincinnati, Ohio Hon. Karen L. Litkovitz , U.S. Magistrate Judge

City and state:
Printed name and title
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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF OHIO

UNITED STATES _
Case No. 20 -» 1 y te &

V.

TAMAYA DENNARD Filed Under Seal

 

 

AFFIDAVIT IN SUPPORT OF A CRIMINAL COMPLAINT
I, Nathan Holbrook, being first duly sworn, hereby depose and state as follows:

INTRODUCTION AND AGENT BACKGROUND

L; I make this affidavit in support of a criminal complaint against TAMAYA
DENNARD. | am a Special Agent with the Federal Bureau of Investigation (FBI), and have been
so employed for over eight years. In July 2011, 1 was assigned to the Merrillville Resident Agency
Office to work white collar crimes and public corruption investigations. In joining the FBI as a
Special Agent, | initially spent five months at the FBI training academy in Quantico, Virginia,

where I studied numerous investigative techniques, including those involved in white collar/public

corruption investigations.

2. I was a member of the Northwest Indiana Public Corruption Task Force from
August 2011 until December 2017. This task force focused on public corruption investigations
throughout Northwest Indiana and was compromised of several federal law enforcement agencies,
including the FBI and the Internal Revenue Service (IRS). As part of my duties while a member
of this task force, I was involved in numerous public corruption investigations including
investigations of elected public officials, non-elected government employees, and corrupt law

enforcement officers. In the course of these investigations, and through my involvement in other
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investigations with other experienced white collar/public corruption investigators, I have
participated in white collar and/or public corruption investigations involving the use of Title III
communication intercepts, confidential surreptitious undercover recordings, electronic tracking
devices, pen registers and trap and trace devices, and various types of search warrants for GPS
locate information, government offices, and government computer systems.

3. In January of 2018, I was transferred to the Cincinnati Division of the FBI and
assigned to a white collar/public corruption unit, specifically to investigate public corruption in
Southern Ohio to include bribery, extortion, and theft of funds from programs receiving
government money. Since my assignment to the Cincinnati Division, I have conducted or
participated in public corruption investigations utilizing advanced techniques to include the use
of: Undercover Employees (UCEs); confidential human sources; consensual undercover

recordings; Title IIIs; physical surveillance; pen registers and trap and trace devices; and the

analysis of financial records.

4. Prior to my service with the FBI, I was employed as a Manager of Clinical
Operations for a major national healthcare provider in Ohio, managing the operations of seven
regional facilities. My formal education includes a Bachelor of Science degree and a Master’s
Degree in Business Administration (MBA).

35 The information set forth in this affidavit was obtained during the course of my
employment with the FBI, through personal observations, the statements of witnesses/cooperators,
and recordings of conversations. Since this affidavit is being submitted for the limited purpose of
obtaining a criminal complaint, I have not included every fact known to me concerning this

investigation. I have set forth only the facts necessary to establish probable cause that federal

crimes have been committed.
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6. As set forth in this affidavit, there is probable cause to believe that TAMAYA
DENNARD committed honest services wire fraud, in violation of 18 U.S.C. §§ 1346 and 1343,
bribery concerning programs receiving federal funds, in violation of 18 U.S.C. § 666, and

attempted extortion under color of right, in violation of 18 U.S.C. § 1951.
PROBABLE CAUSE

1, The City of Cincinnati is a municipal corporation and political subdivision of the
State of Ohio located in the Southern District of Ohio. The City of Cincinnati received federal
benefits in excess of $10,000 during the twelve-month period preceding September 2019.

8. Cincinnati City Council is the legislative body for the City of Cincinnati. The
Council is comprised of nine members, and is responsible for enacting ordinances, imposing taxes,

and making appropriations, establishing policy, and hiring some city officials. The current council

members are serving four-year terms.!

9. DENNARD is a black female, her date of birth is March 22, 1979. DENNARD is
approximately five feet, four inches tall and has brown hair and brown eyes. DENNARD’s Social
Security Account Number is XXX-XX--1683. According to DENNARD’s website, following her
graduation from the University of Cincinnati with a degree in international business, she went to
work for Duke Energy. DENNARD reportedly left Duke Energy to work for Cincinnati City
Councilmember P.G. Sittenfeld. DENNARD left Sittenfeld’s office in 2015 to take the role of

political director for Sittenfeld’s campaign for United States Senate.

 

' In November of 2018, city voters approved an amendment to the Cincinnati Charter to limit
Council terms to two years beginning with council members elected in 2021.

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10. DENNARD was elected to the Cincinnati City Council in November of 2017,
finishing in sixth place for the nine-member council, to serve a four-year term. DENNARD is the
current President Pro Tem for the council and is also the Chairperson for the Equity, Inclusion,
Youth, and the Arts Committee; Vice Chairperson for the Major Projects and Smart Government
Committee; and a member of the Budget and Finance Committee.

1]. As a current member of Cincinnati City Council, DENNARD is an agent of the
City of Cincinnati, that is, she is employed as elected member of the City of Cincinnati City
Council, and a “public official,” who owes a duty of honest services to the citizens of the City of
Cincinnati and to the Cincinnati City Council.

EZ. As set forth below, between at least August 2019 and December 2019, DENNARD
engaged in a scheme to defraud the citizens of Cincinnati of her honest services as a council
member. More specifically, she engaged in acts and attempted acts of bribery and extortion,
attempting to exchange her votes for money.

13. | CHS is employed by a law firm located in the greater Cincinnati area, whose
business affects interstate commerce. CHS specializes in negotiating large-scale development
projects in the Cincinnati region. Through CHS’s employment with his/her firm and CHS’s
expertise in negotiating development projects, CHS became involved in a proposed large scale
development project for the downtown Cincinnati river bank (hereinafter referred to as the “bank’s
development”) that affects and has an impact on interstate commerce. As described below, CHS
contacted law enforcement after an interaction with DENNARD, believing that CHS had a moral
and ethical obligation to report criminal wrongdoing and to assist law enforcement, After

contacting law enforcement, CHS acted at the direction of law enforcement to assist law

enforcement in its investigation of criminal activity,
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14. The bank’s development encompasses a large section of the Ohio River bank in
Cincinnati, Ohio and has undergone phases of development. The next phase of development
involves adding a music venue to the area. In order for the bank’s development project to progress,
Hilltop Companies (hereinafter referred to as “Hilltop”) must be relocated from its current location
just west of Paul Brown Stadium. Hilltop has multiple business locations to include Butler, KY;
Maysville, KY; Battletown, KY: Patriot, IN; and Cincinnati, OH. Hilltop produces ready mix
concrete and aggregate product to include crushed stone, sand, and gravel. CHS’s firm represents
a stakeholder in the bank’s development, which has advocated for and would benefit from the
relocation of Hilltop from its current location on the river bank in downtown Cincinnati.

15. One potential solution for the relocation of Hilltop required a land swap between
the City of Cincinnati and Hilltop. Hilltop had a parcel of land under contract, referred to as the
West Mill Creek site, which would be swapped for the same size of land owned by the City of

Cincinnati, referred to as the East Mill Creek site. The land swap dea] required approval of the

Budget and Finance Committee, followed by approval of City Council.

16. On or around August 12, 2019, an email was sent to members of City Council,
including DENNARD, for the purpose of scheduling meetings with council members to discuss

the bank’s development and the Hilltop land swap.
lz. On Wednesday, August 14, 2019, DENNARD sent an email to CHS requesting to

meet CHS. CHS told me he/she was surprised to receive the direct communication from
DENNARD, because CHS had only met DENNARD one time for approximately 15 minutes
around March or April of 2019. Although not specifically stated, CHS assumed the purpose of the

meeting was to update DENNARD on the bank’s development and Hilltop land swap. CHS agreed

to meet DENNARD in person on August 15, 2019.
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18. On the moming of August 15, 2019, at approximately 7:07 am, DENNARD, sent

the following text message to CHS?:

DENNARD: “Good morning [CHS]! It’s T. amaya. I had a bit of an emergency come up
this morning. Can we please schedule a call for this afiernoon? I apologize for any

inconvenience "3

CHS replied:

CHS: “Ok. No problem Tamaya. Hope all is okay. A call would be fine but a meeting to
walk through with the visuals of the issue would be most helpful. Have a packet of
information for you too. Can meet before 2 and afier 3:30 today any place that works for

you. [CHS]”
19, On Friday, August 16, 2019, DENNARD called CHS at approximately 1:05 pm.‘

The call lasted approximately ten minutes. CHS told me about the conversation he/she had with
DENNARD. During the call, DENNARD requested $10,000 from CHS to pay for personal

expenses. DENNARD explained the money was needed to pay rent, place a down payment on a

car, and pay attorney fees. Later in the phone call, DENNARD requested $15,000 from CHS to
pay for personal expenses. CHS told me he/she offered suggestions to DENNARD on how to
handle DENNARD ’s personal financial difficulties, but did not offer to provide money to
DENNARD. CHS noted DENNARD saying several times during their conversation that
DENNARD did “not know how this works.” Later that same day, at approximately 7:24 pm, CHS

sent the following text to DENNARD:

CHS: Tamaya- I will not be able to meet with you. Unfortunately, I will not be able to
discuss or help you with your personal situation. [CHS]

 

* Records obtained via grand jury subpoena indicated target telephone number was subscribed to

by DENNARD.
3] have reviewed all text messages described in this affi

me by CHS.
* The telephone call was not recorded as it was placed prior to the CHS’s assistance to the F BI,

but has been verified as having occurred through telephone records.

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davit. The text messages were provided to
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Also on the same day, August 16, 2019, at approximately 8:30 pm, DENNARD sent the following
text message to CHS:

DENNARD: “/CHS] Afier speaking with you today, I felt like a weight had been lifted off
of my shoulders. You seemed genuinely interested in helping me and I genuinely need help.
The tone of our conversation was hopeful. This text is dry and it feels as if something is
stopping you. Ls it my politics? I don’t have any other avenues. I called because I literally

am out of options. Can you please tell me why people won't help? What I need to get my
head above water is a pittance to man vy who are able, I have $200 in my account. I got into

a rough spot trying to help my mom and now I have nothing. I appreciate you taking my
call and being willing to help today”
20. On Saturday, August 17, 2019, at approximately 7:06 am, DENNARD, sent to CHS

a photograph of a document title “NOTICE TO LEAVE THE PREMISES” addressed to

DENNARD, with the accompanying text message:

DENNARD: “/fyou are willing to meet with me, I'm sure that I will be able to help you.”
21. CHS responded to DENNARD on the same day at approximately 9:24 am, stating:

CHS: Tamaya- J suggest you contact Legal Aid about your eviction notice and financial
situation. I feel bad about your situation, which is why I offered some suggestions yesterday
about where you might get some help. It appears now you are asking me personally for
help. Given my role with the [CHS’s client] it would be totally inappropriate for me to
represent you or provide any financial assistance. Please don’t suggest it again.

22. Thereafter, CHS contacted federal law enforcement regarding DENNARD’s
communications and request for money from someone with business before City Council. CHS

provided copies of the text messages described above and began assisting the FBI, by reinitiating

contact with DENNARD at FBI’s direction.
23. On August 31, 2019, at FBI’s direction, CHS conducted a consensually recorded

telephone call to DENNARD, which she did not answer. CHS left a message for DENNARD

saying that CHS was thinking about DENNARD and felt bad about DENNARD ’s situation and

wanted to see if there was still a way that he/she could help.
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24. On Wednesday, September 4, 2019, DENNARD sent the following text message

to CHS:

DENNARD: Hello. J appreciate your voicemail. I appreciate your willingness to help out.
Please let me know if you have time to meet soon.

25. Via text messages, CHS and DENNARD agreed to meet the following morning at

8:00 am.
26. On Thursday, September 5, 2019, CHS met DENNARD. CHS was equipped with

an FBI audio recording device to capture the meeting. Early in the meeting, DENNARD told CHS
about DENNARD ’s personal financial troubles, after which DENNARD requested $10,000. I

reviewed the recording of the meeting, which included the following conversation:

DENNARD. /t's more of like trying to get a car and, like I said, money for a new place to
live and then just a little bit of breathing room. And (Ul) I think, you know, It’s kind of

hard to get that head space.
CHS: So you still...1 mean what do you, what do you think you're gonna need, I mean...

DENNARD: Probably like ten.

CHS: Ten?

DENNARD: Yeah. Because like you know apartment, it’s like you gotta put down first
month's rent and like a deposit. And then also a car, probably like...I’ve been looking,
probably like I put down twenty-five to three thousand dollars to geta car, you know, not

a new car.
Following the request of $10,000, CHS proceeded to explain the Hilltop land swap deal to

DENNARD and told DENNARD that the mayor is opposed to the Hilltop land swap. CHS and
DENNARD discussed the positions of the other council members regarding approval of the

Hilltop land swap. CHS told DENNARD that he/she needed council support to get the Hilltop
land swap proposal in a committee.

CHS: / think that’s the first thing is can we get the signatures on a resolution that then
puts it in front of council to say yes let’s get this into our committee, let’s use our committee

process, you know to figure out the merits of this thing.
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DENNARD: / don’t think it will be an issue of getting the six signatures just to get it into
committee or...what we can do too, we can either do a motion, we can just suspend the

rules, six of us, you know what I mean...

DENNARD explained that during a council meeting, a council member can make a motion to
suspend the rules which would require six votes. Once the rules are suspended council can vote
on “anything we need to vote on.” DENNARD told CHS “the super majority is everything.”

DENNARD explained that even if the mayor did place an issue on the agenda, the council can still
bring it forward.

27. Later in the conversation, DENNARD again told CHS that DENNARD needed
$10,000. DENNARD told CHS, referring to the $10,000, “and then like I said something | can
payback probably like no more than $200 a month.” CHS asked DENNARD if she wanted the
money wired to her bank account. DENNARD told CHS she never did a wire before, but whatever
is “feasible or easiest.” CHS explained to DENNARD that a wire would require a bank account
number and the bank’s routing number or CHS could give DENNARD a check. DENNARD
responded, “Check is cool. Like and then I would like (UI) like have a note or something, like,
you know what I mean. Like some sort of like so I’m not, you know I want to make sure I’m being
what do they call it, I’m ethical.” DENNARD suggested a promissory note to repay the $10,000.

28. At the end of the meeting, CHS asked DENNARD to text her the bank routing
number and account number. CHS explained the money would not come from him, but rather it

would come from a limited liability company account. CHS and DENNARD then had the

following conversation:

CHS: Do you think, you know, can we count on your support with what we 're talking about

here?

DENNARD: Sure, mmm-hmm. Yeah.
CHS: Yeah, we ‘re good on that?
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DENNARD: Yeah.

CHS: Okay

DENNARD: /7, if, [ don’t...let me, let me read, because I'm still...but I'll, let me, let me
spend some time with this today and I'll reach out to you.

29. Later the same day as the meeting, DENNARD sent CHS the following text

message:

DENNARD: Hi [CHS]! I wanted to talk to see if 815K is doable. I have created a
promissory note of 6 years and payments of $215/month.

This text message also contained DENNARD’s bank routing information, followed by a request

for the transaction to occur more quickly:

DENNARD: /t would awesome if this were initiated today so that I can return this rental
car
CHS responded to the text message by explaining that he/she was busy with work meetings and

requested to talk later that day (September 5, 2019). DENNARD replied:

DENNARD: / understand. If it gets too late for a wire, I can also pick up a check?

30. The next morning, Friday, September 6, 2019, DENNARD sent CHS the following

text message:

DENNARD: /t’s totally cool if you don’t have time to talk. If you could just let me know
if/when the wire could be initiated, that would be most helpful.

31. Later on the same day, September 6, 2019, CHS conducted a consensually recorded
telephone call to DENNARD. I reviewed the recording. During the call, CHS and DENNARD
discussed the $15,000 requested by DENNARD in a previous text message. CHS told
DENNARD that he/she could give her the money on Monday morning (September 9, 2019).
DENNARD asked CHS if that was as soon as he/she could do it (deliver the money). DENNARD

told CHS that she had applied for an apartment and wanted to move fast because there was a
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waiting list for the apartment. CHS told DENNARD to plan to obtain the money from CHS early

on Monday and if CHS can do something sooner, he/she will. At this point in the telephone cal]

the following conversation ensued:

CHS: So /'ll give you ten thousand now...
DENNARD: Mmm-hmm

CHS: ...and you're , you're good with sup... you're good with supporting Hilltop's proposal
to do the land swap...

DENNARD: Mmm-hmm. Yes.

CHS: ... when it comes before council? We're...cool awesome.

DENNARD: Mmm-hmm.

CHS: And then, and then I think as this thing goes through, I mean, if...probably the most,

the most important vote will be the, the first vote and then there's probably going to be a
give you the five thousand after that

second vote and if you can hold on, you know, I can
second vote if that's good with you.

DENNARD: Um, yeah, that's, that's fine.
At the end of the telephone conversation, DENNARD again requested that CHS let her know if

he/she can do something sooner even if it’s not the full $10,000.
32, On Saturday, September 7, 2019, CHS stated that he/she “was not able to move

funds yesterday. I will have what you requested Monday morning though.” DENNARD

responded that her account was negative and that “Monday is an eternity away.” She then sent

following text messages:

DENNARD: With this music venue, I don't have a dog in the fight.

DENNARD: It’s wealthy people fighting to be more wealthy.
33. On Sunday, September 8, 2019, CHS and DENNARD exchanged the following

text messages:

CHS: Will have what we discussed around 10:30. Does that work Jor you?

if
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DENNARD: Thank you. I actually need it first thing. I’m on borrowed time with this rental

car

34. On the morning of Monday, September 9, 2019, CHS and DENNARD, exchanged

the following test messages:

DENNARD: Good morning, [CHS]. Is there a way to meet up sooner this morning than

10:30. The rental car company opens at 8.

CHS: Hey Tamaya- I could swing by Coffee Emporium on the way to a meeting. 9:20-9:30

okay?

DENNARD: Thank you. That would be great. Is everything certified because I don't have

anytime for holds or allowing things to clear.

35. Later in the morning on September 9, 2019, at approximately 9:23 am, CHS met

DENNARD in downtown Cincinnati. CHS again was equipped with an audio recording device.

During the meeting, CHS provided DENNARD with a $10,000 check. I reviewed the recording.

During the brief meeting the following conversation ensued:

CHS: This could be our table. So here, this is the ten thousand that we talked about.

DENNARD: Alright, okay.

CHS: And uh, that’s a cashier's check

DENNARD: OA, that's perfect. Thank you.

CHS: So that will go right through.

DENNARD: /'m going right to the bank on this. Thank you.
CHS: Alright?

DENNARD: Appreciate you.

36. As the above communications demonstrate, DENNARD agreed to vote for the

Hilltop land swap proposal in exchange for $10,000. She further agreed to a payment of $5000

following a second vote. Although she previously mentioned a promissory note in passing, she

never brought it up again.

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37. Bank records indicate that DENNARD deposited the $10,000 check provided by
CHS into a personal account controlled by DENNARD on September 9, 2019.

38. On September 18, 2019, DENNARD called CHS and left a voice message stating
she “needs a huge favor” from CHS. She followed up with a text the next day that stated, “I will
need remaining by tomorrow. Have an emergency.” After exchanging multiple messages, the
CHS stated, “Sorry, will get back to you. Just been slammed,” DENNARD responded by stating,

“T understand. You’re incredibly busy, I thought I was. Just need the remaining by tomorrow. We

don’t have to talk. One less thing for you to do.” She follows up with a text that stated, “This is

imperative. That’s why I’ve been trying to reach you for the last 3 days.”

39. That same day, September 20, 2019, CHS and DENNARD spoke by telephone.
The call was consensually recorded and I reviewed the recording. During the call, DENNARD
stated she would vote for the bill but that she needed the $5,000 now. Specifically, DENNARD

confirmed that she needed “the other five,” and that “you don’t have to worry about” her vote.

Later that day, CHS arranged for $5,000 cash delivery to DENNARD, which was completed the

same day.

40. Also on or about September 20, 2019, the same day DENNARD received the

$5,000 cash, DENNARD booked two seats on a September 22, 2019 flight from Cincinnati

Northern Kentucky Airport bound for Destin-Fort Walton Beach Airport. On or about September
22, 2019, DENNARD deposited $4,600 cash in a personal bank account. Then, on or about
September 27, 2019, DENNARD booked two seats on a September 29, 2019 flight from St.
Petersburg-Clearwater International Airport to Cincinnati Northern Kentucky Airport. One seat

was reserved in DENNARD’s name, the second seat was reserved in the name of an associate of

DENNARD. Financial records indicate DENNARD spent in excess of $4,000 on the Florida trip

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from September 22, 2019 to September 29, 2019 to include accommodations at the Opal Sands

Resort in Clearwater Beach, Florida and airfare.

41. On October 2, 2019, City Council rejected the land swap deal, with Dennard voting

in favor of the deal (opposing the mayor’s motion against the deal) as promised.

42. Following the vote, DENNARD has continued contacting CHS for money, while
tying the payments to help she could provide in return.

43. For example, on October 11, 2019, DENNARD sent CHS a text message at
approximately 7:35 am, stating, in part, “I just need your help of $1,200 today.” When CHS did
not immediately respond, DENNARD sent a follow-up text at approximately 11:57 am, stating
“[CHS], I really need your help. Please respond.” A few hours later, DENNARD continued, “Hi!
I’m with you. But a few competing interest [sic] have reached out. I at least want to know that
you've read my texts and give a damn.”

44. On or about November 2, 2019, at approximately 4:06 pm, CHS executed a
consensually recorded telephone call to DENNARD. During the telephone call, CHS told
DENNARD that the next issue in regards to the building of the music venue on the banks related
to a zoning change. CHS stated the zoning issue was tying things up, and then stated, “these other
things, I guess, Tamaya, we’re just going to have to tackle them,” to which DENNARD responded,
“yeah.” DENNARD stated, “I haven’t seen anything come across, so I was, that’s what I was
wondering, I knew there would be some things coming up, but wasn’t sure exactly what.”
DENNARD then told CHS to keep her “in the loop on everything.” Just minutes after the call

ended, DENNARD sent the CHS the following text:

DENNARD: Great talking with you. I know you called me because you are trying to get
some things done. Otherwise, you’ve been tapped out or too busy. Just to make sure we
are going to be okay, please send a little help to me today. Cash Ap is ok. Or I can meet
you later? J hate to be transactional but you’ve kind of made it like that.

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45. Two days later, on or about November 4, 2019, DENNARD texted CHS and said,
“Good Morning! Are you around today? I could really use your help. It’s kind of urgent to get it

today.” DENNARD continued: “Happy to help you. But need yours too.”
46. Similarly, on or about November 13, 2019, DENNARD contacted CHS asking for

more money, “just about $500,” and stated, “As J said, I’m sure there will be ways to help you as

well and I will.”

47. Ananalysis of DENNARD ’s personal banking account records from June 3, 2019

to November 21, 2019 indicate numerous cash deposits in an amount totaling $20,295.00. The

source of the cash deposits is unknown.

CONCLUSION

48. Based on the forgoing, I request that the Court issue the proposed criminal
complaint, as there is probable cause to believe DENNARD has committed honest services wire
fraud, in violation of 18 U.S.C. §§ 1346 and 1343, bribery concerning programs receiving federal

funds, in violation of 18 U.S.C. § 666, attempted extortion under color of right, in violation of 18

U.S.C. § 1951.
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REQUEST FOR SEALING

49. I further request that the Court order that all papers in support of this application,
including the affidavit, be sealed until further order of the Court. These documents discuss an
ongoing criminal investigation that is neither public nor known to all of the targets of the
investigation. Accordingly, there is good cause to seal these documents because their premature

disclosure may seriously jeopardize that investigation.

Respectfully submitted,

Mt Able)

Nathan Holbrook
Special Agent
Federal Bureau of Investigation

Subscribed and sworn to before me on Sth- ae g . 2020

Eilts bed

KAREN L. LIKOVITZ
UNITED STATES Daas eon JUDGE
